:21-cv- -MSM-LDA Document 1-2 Filed 06/24/21 Page 1 of 1 PagelD #: 96
Isaa KAR yt 21 cv-00272-MS Pa er tae SEG ee

‘The JS 44 civil cover shect and the information contained herein neither replace nor supplement the Gling and service of pleadings or other papers as required by law, except as
provided by local mles of court. This fon, approved by the Judicial Conference of the United States in eptember 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS DEFENDANTS
Carline Vilbon 1, Department of Children, Youth and Families, 2 The Lifespan
facilities, 3. The Rumford House group home
(b) County of Residence of First Listed Plaintiff _ ee County of Residence of First Listed Defendant oe
(EXCEPT IN US. PLAINTIFF CASES) UN U.S. PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES. USE THE LOCATION OF
THE TRACT OF LAND INVOLVED,

my am2y Pb 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(¢) Attorneys (Fine Name, Address, and Telephone Number) Attomeys (// Known)
Carline Vilbon, Pro-se : ‘tiomey Benjamin Copple for the Department of Children, Youth and
amilies vs
1 coe ‘ ~ ‘ :
I. BASIS OF J URISDICTION (Placean “X” in One Box Only} Li. CEIFLZENSHIP OF PRINCIPAL PARTIES (Place an “X™ it One Hox for Plaintiff
w (For Diversity Cases Oniy} and One Box for Defendant)
Oi U.S. Government #43 Federal Question PTE DEF PTF DEF
Plaintiff (U.S. Goverament Nara Party) Citizen of This State at) 2 Incorporated or Principal Place Oa 4
of Business fy This State
G2 US. Government 40 Diversity Citizen of Another State OG 2 © 2 Incorporsted and Principal Place gos 8
Defendant (lndicute Citizenship of Parties in tem HI of Business In Another State
Citizen or Subject of a O3 © 3° Foreign Nation mG Fé
: Foreign Country
iV. NATURE OF SUIT (Place on “X in One Box Oaly) Click here for: Nature of Suit Code Descriptions.
LC “CONTRACT: oe TORTS : a FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
CO 110 Insurance PERSONAL INJURY PERSONAL INJURY — (1 625 Drug Related Seizure CI 422 Appeal 28 USC 158 Ci 375 False Claims Act
F120 Marine 3 310 Aimlane 0 365 Personal Injury - of Property 27 USC 881 423 Withdmwal oF 376 Qui Tam (31 USC
OF 130 Miller Act 0 315 Aizplane Product Product Liability 1 690 Other 28 USC 157 372%{0))
G 140 Negotiable Instrument Liability & 367 Health Care! OF 400 Strte Reapportionment
G 130 Recovery of Overpayment | 0) 320 Assault. Libel & Pharmaceutical PROPERTY. RIGHTS 1} 410 Antitrust
& Enforcement of Judement Slander Personal Injury 0 820 Copyrights C430 Banks and Banking
CT SL Medicare Act C1 330 Federal Employers’ Product Liability £7 S30 Patent CF 450 Commerce
& 152 Recovery of Defaulted Liability OF 368 Asbestos Personal £9 835 Patent - Abbreviated 1 460 Deportation
Student Loans 9340 Marine Injury Product New Drug Application (CP 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability G 3840 Trademark Conupt Onanizations
CF 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ~ SOCIAL SECURITY 1 480 Consumer Credit
of Veteran's Benetits (7 350 Motor Vehicle 370 Other Fraud £7 710 Fair Labor Standards C3 S61 HLA (139505 OF 485 Telephone Consumer
CG 160 Stockholders’ Suits {J 355 Mutor Vehicle 371 Truth in Lending Act 862 Black Lamg (923) Protection Act
190 Other Contract Product Liability @ 380 Other Personal 9 720 Labor/Managenteat 1 863 DIWC/DIWW (405(g}) | 490 Cabke/Sat TV
CF 195 Contract Product Liability |) 360 Other Personal Property Damage Relations C3 864 SSID Title NVI CF §30 Securities/Commodities!
7 196 Franchise injury OF 385 Property Damage 740 Railway Labor Act 865 RSI (405(g)) Exchange
; ‘ CO 382 Personal Injury - Product Liability © 751 Family and Medical © 890 Other Statutory Actions
- Medical Malpractice Leave Act 891 Agricultural Acts
fe REAL PROPERTY ° CIVUL RIGHTS _{ PRISONER PETITIONS _{G 790 Other Labor Litigation FEDERAL TAN SUITS 893 Environmental Manters
0 2160 Land Condemnstion OF 440 Other Civil Rights Habeas Corpus: 07791 Employee Retirement OF 870 Taxes (U.S. Plaintiit C1 3895 Freedom of Information
OG 220 Foreclosure C7 441 Voting 07 463 Alien Detainee Income Security Act or Defendant} Act
C7 230 Rent Lease & Ejectment | 442 Employment 7 510 Motions to Vacate OF 871 IRS—Third Party OF 886 Arbitration
CF 240 Torts to Land 9 443 Housine/ Sentence 26 USC 7609 899 Administrative Procedure
9 245 Tort Product Liability, _ Accommadations 2 530 General Act/Review or Appeal of
D 290 All Other Real Property: + |) 445 Amor. w/Disabilities -1 545 Death Penalty ‘ IMMIGRATION Agency Decision
Employment Other: CF 462 Naturalization Application 7 950 Constitutionality of
oars &F -A6 Amer. w/Disabilities -1( 540 Mandamus & Other {03 465 Other Immigration State Statutes
Other G 5350 Civil Rights Actions
7 448 Education OG S355 Prison Condition
© 360 Civil Detainee ~
Conditions of
Confinement
Vv. ORIGIN (Place wn Oue Bax Only}
val Original G2 Removed from CF 3) Remanded from CF 4 Reinstatedor © 5 Tyansfeued fiom 6 Multidistrict 8 Multidiswict
Proceeding State Court Appellate Court Reopened Another District Litigation -~ Litigation -

Gpecifiy Transfer Direct File
Cite the U.S. Civil Statice under which you are filmy (Da not cite jurisdictional statutes untess diversity):

28 U.S.C. 2241, 28 U.S.C. 2254, 25 C.F.R.11.404

 

_VI. CAUSE OF ACTION

 

 

 

 

Brief description of cause: . . .
The Defendant and Respondents unlawfully detained my son A.V, through unjust procedures and falsified documen
VIL. REQUESTED IN Cf CHECK IF THIS 18 A CLASS ACTIGN DEMAND § . CHECK YES oaly if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cw.P. . JURY DEMAND: OG Yes No
VI. RELATED CASE) SU" 202)" OISZA
iF ANY Ceemenisi"  upce Rhode Island Supreme Court _—. DOCKET NUMBERS UZ OZ i > COTA _
DATE Of, ZY /2 oo} IGNATURE OF ATTORNEY OF RECORD
06/7/2071 ce beard, Y eee] / Carline Vilbon, Pro-se
FOR OFFICE USE ONLY €

 

RECEIPT # AMOUNT APPLYING LEP JUDGE MAG, JUDGE

 

 
